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 7 D.B.A. PAPERMAG.COM
 8
 9                        UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11
12    BERNHARD KÜHMSTEDT, an                Case No. 2:21-cv-10032-FWS-JEM
      individual,
13                Plaintiff,
14           vs.                            DEFENDANT ENTTECH MEDIA
                                            GROUP, LLC’S REPLY IN
15    ENTTECH MEDIA GROUP, LLC, a           SUPPORT OF MOTION TO
16    Delaware limited liability company    DISMISS FIRST AMENDED
      d/b/a “PAPERMAG.COM”; and             COMPLAINT
17    DOES 1-10, inclusive
18                                          Hearing
      Defendant.                            Date: June 16, 2022
19                                          Time: 10:00 am
20                                          Courtroom: 10D
                                            Hon. Fred W. Slaughter
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     DEFENDANT’S REPLY IN SUPPORT OF
     MOTION TO DISMISS FACC                                  2:21-cv-10032-FWS-JEM
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 1 I.      INTRODUCTION
 2         Plaintiff fails to meet its burden of proof that venue in this District is proper, and
 3 provides no justifiable reason why this District was selected. It is undisputed that no
 4 parties to this case reside in this District, or even in California. The alleged infringement
 5 of the 1989 photograph at issue in this case was allegedly published in 2015 to
 6 Defendant’s website in New York City, where Defendant resides and where its website is
 7 operated and managed.
 8         Pursuant to Rule 12(b)(3), the Court should dismiss this case because the case is
 9 frivolous given Plaintiff is only entitled to actual damages, and transfer would be futile
10 since it will likely be dismissed after transferring, and because the case was forum
11 shopped and filed in this District in bad faith given Plaintiff provides no reason for
12 selecting the Central District. Alternatively, if the Court finds it is in the interest of
13 justice (despite Plaintiff’s failure to identify any interests of justice), the Court should
14 transfer the case to the Southern District of New York where Defendant resides and
15 where the alleged infringement occurred. See, 28 U.S.C. § 1406(a); Atl. Marine Constr.
16 Co. v. U.S. Dist. Ct., 134 S. Ct. 568, 577 (2013).
17 II.     ARGUMENT
18         A. Plaintiff Fails to Meet His Burden of Showing that Venue is Proper in the
19             Central District.
20         Once a defendant has properly challenged venue, the plaintiff bears the burden of
21 showing venue is proper. See, Piedmont Label Co. v. Sun Garden Packing Co., 598 F.2d
22 491, 496 (9th Cir. 1979)(“Plaintiff had the burden of showing that venue was properly
23 laid in the Northern District of California”); see also, Hope v. Otis Elevator Co., 389
24 F.Supp.2d 1235, 1243 (E.D. Cal. 2005) (“Plaintiff has the burden of proving that venue is
25 proper in the district in which the suit was initiated,” citing Airola v. King, 505 F.Supp.
26 30, 31 (D. Ariz. 1980)). Plaintiff argues that 28 U.S.C.S. § 1400(a) applies, which states:
27 “Civil actions, suits, or proceedings arising under any Act of Congress relating to
28 copyrights or exclusive rights in mask works or designs may be instituted in the district
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 1 in which the defendant or his agent resides or may be found.” 28 U.S.C.S. § 1400(a).
 2 Under Section 1400(a), Defendant’s argument that venue is improper remains the same.
 3 Neither Defendant nor its agent resides in, or can be found in, the Central District. (See
 4 Motion). Under 28 U.S.C.S. § 1400(a), a defendant may be ‘found’ wherever he may be
 5 constitutionally served with process. Micromanipulator Co. v. Bough, 558 F. Supp. 36,
 6 222 U.S.P.Q. (BNA) 733, 1982 U.S. Dist. LEXIS 17184 (D. Nev. 1982).
 7         Here, it is undisputed that Defendant does not reside in this District, it resides in
 8 New York, New York. (See Declaration of Diane Drennan-Lewis, Dkt. 27-1).
 9 Defendant’s business is solely in New York, so neither Defendant nor its agent can be
10 found in this District. Id. Because Defendant is not located and does not reside in this
11 District, it cannot be served with process in this District, and thus cannot be ‘found’ in
12 the Central District. As such, under 28 U.S.C.S. § 1400(a), venue is improper. Notably,
13 Plaintiff fails to address the fact that Defendant does not reside in this District, and does
14 not attempt to argue otherwise. Instead, Plaintiff solely focuses on whether Defendant
15 can be ‘found’ in the Central District, and argues that this is solely determined by
16 personal jurisdiction. However, the plain meaning of 28 U.S.C.S. § 1400(a) requires that
17 defendant be found in federal judicial district of suit, not merely have contact with forum
18 state. Milwaukee Concrete Studios, Ltd. v. Fjeld Mfg. Co., 795 F. Supp. 277, 1992 U.S.
19 Dist. LEXIS 8336 (E.D. Wis. 1992), modified, Milwaukee Concrete Studios v. Fjeld Mfg.
20 Co., 8 F.3d 441, 27 Fed. R. Serv. 3d (Callaghan) 335, 28 U.S.P.Q.2d (BNA) 1594, 1993
21 U.S. App. LEXIS 27208 (7th Cir. 1993). Plaintiff’s argument that personal jurisdiction
22 equates to venue thus fails, as detailed below.
23                   1. Plaintiff’s Argument that Defendant is Subject to Personal
24                      Jurisdiction in this District Fails.
25         Plaintiff’s argument that venue is proper solely because this District has personal
26 jurisdiction fails, and, even if true, Plaintiff still fails to establish personal jurisdiction
27 here.
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 1         In Sanders v. Experian Info. Sols., Inc., the court granted a motion to dismiss for
 2 improper venue where the court held that even if plaintiff established that the court had
 3 personal jurisdiction over the defendant, she still would have to establish that there is no
 4 district in which an action may otherwise be brought. The court pointed to 28 U.S.C. §
 5 1391(b)(3), which only allows an action to be brought in any district in which a
 6 defendant is subject to the court’s personal jurisdiction “if there is no district in which an
 7 action may otherwise be brought.” See, 28 U.S.C. § 1391(b)(3). The court dismissal was
 8 granted for improper venue because plaintiff did not offer any argument that there was no
 9 district the action could have otherwise been brought. See, Sanders v. Experian Info.
10 Sols., Inc., No. 16-cv-04650-BLF, 2017 U.S. Dist. LEXIS 61316, at *6 (N.D. Cal. Apr.
11 21, 2017). Here, Plaintiff solely focuses on personal jurisdiction as its basis for, but fails
12 to address that this action could have been brought in the Southern District of New York,
13 where Defendant resides, and instead argues that a civil action can be brought in any
14 district with personal jurisdiction, regardless of any other factors, simply because the
15 alleged infringement occurred on a website. However, this reasoning would encourage
16 and permit forum shopping.
17         Furthermore, Plaintiff’s argument that Defendant is subject to this District’s
18 personal jurisdiction fails because, "[i]n the internet context, the Ninth Circuit utilizes a
19 sliding scale analysis under which 'passive' websites do not create sufficient contacts to
20 establish purposeful availment, whereas interactive websites may create sufficient
21 contacts, depending on how interactive the website is." Jeske v. Fenmore, No. SACV 08-
22 01015 DOC (MLGx), 2008 U.S. Dist. LEXIS 100409, 2008 WL 5101808, *4 (C.D. Cal.
23 Dec. 1, 2008) (citing Boschetto v. Hansing, 539 F.3d 1011, 1018 (9th Cir. 2008)).
24         Here, the alleged infringement took place on Paper Magazine’s passive website,
25 where the alleged infringing photograph was published in 2015 with an article. Paper
26 Magazine’s website is passive on the sliding scale because it merely displays
27 information, i.e., an article with a photograph. See Stomp, Inc. v. NeatO, LLC, 61
28 F.Supp.2d 1074, 1078 (C.D. Cal. 1999)(“At one end of the scale are 'passive' websites
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 1 which merely display information, such as an advertisement.”). However, “[p]ersonal
 2 jurisdiction is 'not appropriate when a website is merely . . . passive.'” American Auto.
 3 Ass'n, Inc. v. Darba Enterprises Inc., No. C 09-00510 SI, 2009 U.S. Dist. LEXIS 37564,
 4 2009 WL 1066506, *4 (N.D. Cal. Apr. 21, 2009) citing Stomp, Inc. v. NeatO, LLC, 61
 5 F.Supp.2d 1074, 1078 (C.D. Cal. 1999). Thus, here, Plaintiff’s argument that this District
 6 has personal jurisdiction and thus venue fails because Paper Magazine’s website is
 7 passive, and thus does not create sufficient contacts with this District to establish
 8 purposeful availment.
 9         Plaintiff goes into a confusing, complicated analysis of trivial details about
10 Defendant’s website (some of which are plainly false), that are only supported by a
11 declaration of Plaintiff’s unknowledgeable counsel who did a cursory review on the
12 internet to cherry-pick anything and everything he could possibly find that connects
13 Defendant to the state of California (not specifically this District, though) just to support
14 Plaintiff’s argument that Defendant is subject to personal jurisdiction in this District (and
15 thus can be found in this District, thereby making venue proper). Plaintiff’s confusing
16 analysis, self-serving declaration of counsel, and unsupported allegations about
17 Defendant are not only insufficient to establish personal jurisdiction, but they are also
18 absurdly overreaching. Indeed, Plaintiff’s desperate attempt to find minute contacts
19 between Defendant and California (not specifically the Central District) is telling—
20 Plaintiff goes so far as to argue that the Central District is an appropriate venue because
21 internet protocol addresses appear to be hosted in San Francisco (which is not in the
22 Central District). The Court should give no weight to Plaintiff’s unsupported arguments
23 and his counsel’s self-serving declaration.
24            B. Plaintiff’s Response Supports Defendant’s Argument that this Case
25               Should Be Dismissed Rather Than Transferred.
26                  1. Plaintiff Fails to Show why the Interests of Justice Warrant a
27                      Transfer.
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 1         Notably, Plaintiff provides no reason why it is in the interests of justice for this
 2 case to be transferred to the Southern District of New York instead of dismissal. This is
 3 simply because Plaintiff has no reason. Plaintiff does not reside in the United States, so
 4 he does not have a home forum, and as such, his refusal to transfer venue to the district
 5 where Defendant resides is not only unreasonable, but also indefensible. Given these
 6 facts, the only explanation is that Plaintiff forum shopped this case.
 7       Because Plaintiff failed to address this issue, and failed to explain why the Court
 8 should transfer the case rather than dismiss it, the Court should dismiss the case.
 9 See, Nizami v. Woods, 263 F. Supp. 124, 125 (S.D.N.Y. 1967) (dismissal for improper
10 venue, rather than transfer, appropriate when plaintiff "furnish[es] no reasons why it
11 would be more in the interest of justice for the Court to transfer the case rather than to
12 dismiss it without prejudice").
13                  2. Plaintiff Fails to Show He Did Not Forum Shop.
14         Plaintiff does not explain why the Central District was the selected venue given it
15 is not Plaintiff’s home forum, no parties reside in this District, and Defendant resides in a
16 different district where it is amenable to service of process (and where Plaintiff did serve
17 process upon Defendant). Given Plaintiff’s lack of response as to why he selected the
18 Central District and refusal to voluntarily transfer venue, Plaintiff either forum shopped,
19 is harassing Defendant, or is acting in bad faith. For these reasons, dismissal is
20 appropriate rather than transfer. See, King v. Russell 963 F.2d 1301, 1304 (9th
21 Cir.1992)(Dismissal, rather than transfer, may be appropriate where the plaintiff is
22 harassing the defendants, acting in bad faith or forum shopping; where the plaintiffs
23 action is frivolous; or where the transfer would be futile because the case would be
24 dismissed even after transfer.)
25            C. Defendant Did Not Waive Its Right to Raise Improper Venue.
26         Contrary to Plaintiff’s arguments, Defendant did not waive its right to seek
27 dismissal, or in the alternative, transfer, on the grounds of improper venue.
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 1         In Phillips v. Baker, the appellate court affirmed dismissal of complaint for
 2 improper venue, holding that defendants did not waive the defense of improper venue by
 3 first making a motion for a more definite statement. Phillips v. Baker, 121 F.2d 752, 753
 4 (9th Cir. 1941). In Crum v. Graham, the court dismissed a case based on defenses that
 5 were raised in defendant’s answer but not raised in defendant’s first motion to dismiss.
 6 The court followed Phillips v. Baker, and ruled that defendant did not waive the defenses
 7 of lack of jurisdiction and insufficiency of service of process by failing to raise them in
 8 the first motion to dismiss. Crum v. Graham, 32 F.R.D. 173, 175 (D. Mont. 1963).
 9         Additionally, at the time Defendant filed the first motion to dismiss, it was unable
10 to seek dismissal under Rule 12(b)(3) based on the argument that Plaintiff’s action is
11 frivolous; or where the transfer would be futile because the case would be dismissed even
12 after transfer because this issue arose on May 10, 2022, once Plaintiff dismissed its
13 request for statutory fees and attorney’s fees. (See Dkt. 26). See King v. Russell, 963 F.2d
14 1301, 1304 (9th Cir.1992)(Dismissal, rather than transfer, may be appropriate where the
15 plaintiffs action is frivolous; or where the transfer would be futile because the case would
16 be dismissed even after transfer); see also, Kaia Foods, Inc. v. Bellafiore, 70 F. Supp. 3d
17 1178, 1184 (N.D. Cal. 2014)("Dismissal, rather than transfer, may be appropriate where
18 the transfer would be futile because the case would be dismissed even after transfer.")
19         Given this case now solely seeks actual damages that occurred in 2015, for
20 copyright claims that limit damages for three years from the date of filing, the case has
21 essentially no damages, and is a waste of Plaintiff, Defendant and the Court’s time and
22 resources. These new circumstances warrant a dismissal rather than transfer because (1)
23 the case is frivolous given Plaintiff will waste more resources litigating a federal case
24 than he anticipates recovering in damages, and (2) a transfer would be futile because the
25 case will likely be dismissed even after transfer.
26            D. Plaintiff Should Not Be Granted Leave to Conduct Targeted
27               Jurisdictional Discovery.
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 1         Plaintiff requests the Court grant leave to “conduct targeted jurisdictional
 2 discovery” into Defendant’s revenue and users in California and then leave to amend the
 3 FAC “to include even more detailed factual allegations based on that jurisdictional
 4 discovery.” (See Opposition, p. 24).
 5         Granting Plaintiff leave to conduct jurisdictional discovery solely to obtain
 6 information to strengthen assertions that the Court has personal jurisdiction over
 7 Defendant is nonsensical and a waste of time and resources. Here, no amount of
 8 discovery could strengthen Plaintiff’s assertion that venue is proper in this District. See
 9 Broadway Nat'l Bank v. Plano Encryption Techs., LLC, 173 F. Supp. 3d 469, 481 (W.D.
10 Tex. 2016) (if lack of venue is clear discovery will not be allowed); see Kelly v. Syria
11 Shell Petroleum Dev. B.V., 213 F.3d 841, 856 (5th Cir. 2000) ("When the lack of
12 personal jurisdiction is clear, discovery would serve no purpose and should not be
13 permitted."); see also, Hockerson-Halberstadt, Inc. v. Propet USA, Inc., 62 F. App'x 322,
14 338 (Fed. Cir. 2003)(district court did not abuse its discretion by denying request for
15 discovery where the lack of personal jurisdictional is clear, and further discovery serves
16 no purpose).
17         It is clear the Central District is an improper venue solely because Defendant (and
18 Plaintiff) does not reside in, is not found in, and does not have an agent in this District;
19 no events or omissions occurred in this District; and there is another district where the
20 action can be brought—the Southern District of New York. See, 28 U.S.C. § 1391(a); see
21 also, 28 U.S.C.S. § 1400(a); see also, Altin Havayolu Tasamaciligi Turizm Ve Tic v.
22 Sinnarajah, No. C-07-6475 EDL, 2008 U.S. Dist. LEXIS 119797, at *11 (N.D. Cal. Mar.
23 12, 2008). Based on these clear, undisputed facts, Plaintiff’s requested limited discovery
24 would not be useful because there are no issues of fact relating to venue to be resolved
25 here. See Broadway Nat'l Bank v. Plano Encryption Techs., LLC, 173 F. Supp. 3d 469,
26 480 (W.D. Tex. 2016)(“The Court need not permit discovery on jurisdictional matters
27 unless the motion to dismiss raises issues of fact.”). As such, it does not make sense for
28 the Court to allow leave to conduct the requested limited discovery.
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 1            E. Plaintiff’s Request For Leave to Amend the FAC Should Be Denied.
 2         A district court ordinarily must grant leave to amend unless one or more of
 3 the Foman factors is present: (1) undue delay, (2) bad faith or dilatory motive, (3)
 4 repeated failure to cure deficiencies by amendment, (4) undue prejudice to the opposing
 5 party, and (5) futility of amendment. Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d
 6 1052 (9th Cir. 2003).
 7         Here, leave to amend the FAC will not and cannot resolve an improper venue
 8 issue. It is clear that the FAC cannot be saved by an amendment because there are no
 9 additional facts that Plaintiff could allege to show venue is proper in this District since
10 Defendant resides in New York, so leave to amend is futile. This factor weighs against
11 granting leave to amend. See, Payne v. Office of the Comm'r of Baseball, No. 15-cv-
12 03229-YGR, 2016 U.S. Dist. LEXIS 159575, at *23 (N.D. Cal. Nov. 16,
13 2016)(leave to amend is inappropriate where venue is proper in the district where
14 plaintiff’s injury took place and where defendant resides, which is a fact that cannot be
15 changed by amendment.).
16         Additionally, the third factor weighs against granting leave to amend because
17 Plaintiff previously amended his pleading to cure deficiencies upon the Court’s order
18 (Dkts. 22, 24), and a second time after Defendant raised the deficiencies in a meet and
19 confer. (Dkt. 26).
20            F. Plaintiff’s Request for Sanctions Under 28 U.S.C. §1927 Should Be
21                Denied.
22         Plaintiff’s diversionary request for sanctions only serves to highlight the frivolity
23 of their claim for reproducing an image of Janet Jackson performing at a concert over
24 three decades ago, registered only a handful of years ago, and only “discovered” when
25 9th Circuit law became more favorable with respect to the discovery rule and statute of
26 limitations in Copyright cases. In any event, it cannot conceivably be vexatious to seek
27 dismissal or transfer of a case to another district, given that it is a challenge to the
28 pleadings. It is plain that the only litigant wasting everyone’s time is the Plaintiff.
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 1 III.   CONCLUSION
 2        For the reasons stated herein, Defendant respectfully requests the Court grant this
 3 Motion.
 4
 5 DATED: June 2, 2022                          TAULER SMITH LLP
 6
 7                                       By:    /s/Robert Tauler
 8                                              Robert Tauler, Esq.
                                                Attorneys for Defendant
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                                                ENTTECH Media Group, LLC
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 1                             CERTIFICATE OF SERVICE
 2        I hereby certified that I served the foregoing document on all parties of record
 3 through the Court’s CM/ECF system.
 4
 5 DATED: June 2, 2022                              TAULER SMITH LLP
 6
 7                                         By:      /s/ Robert Tauler
 8                                                  Robert Tauler, Esq.
                                                    Attorneys for Defendant
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                                                    ENTTECH Media Group, LLC
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